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                                        COURTROOM MINUTES
                                              CIVIL
        6/7/2023
DATE: ______________       Wednesday
                     DAY: _________________               1:04 p.m. END TIME: __________
                                            START TIME: __________             2:19 p.m.
             Conley
JUDGE/MAG.: _________________         LAM
                              CLERK: _________________            PH
                                                       REPORTER: _________________
            23-cv-135-wmc
CASE NO.: __________________               Donald Pollard et al v. John Johnson Sr. et al
                             CASE NAME: ________________________________________________


APPEARANCES:
PLAINTIFF(S):           David Peterson
                       _________________________           DEFENDANT(S):           Andrew Adams , III
                                                                                  _________________________
                        Bridget Hubing
                       _________________________                                  _________________________
                                                                                   Leah Jurss
                        Samuel Sylvan
                       _________________________                                   Samantha Hermsen
                                                                                  _________________________
                       _________________________
                        Olivia Schwartz                                           _________________________
                                                                                   Lorenzo Gudino




PROCEEDING:
       CONFIRMATION OF SALE                                          ORDER TO SHOW CAUSE
       CONTEMPT OF COURT                                                     Motion hearing
                                                                     OTHER: ____________________________
       MOTION FOR DEFAULT JUDGMENT


Counsel in case no. 23-cv-355-wmc appeared for motion hearing as follows: Attorneys Samuel Gollis, Megan Stelljes
__________________________________________________________________________________________
for the United States; Attorney Frank Kowalkowski for Town of Lac de Flambeau
__________________________________________________________________________________________
Hearing on plaintiffs' motion for preliminary injunctive relief and defendants' motion to dismiss
__________________________________________________________________________________________
__________________________________________________________________________________________
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                                                                      TOTAL COURT TIME: _______________
                                                                                          1h 15m
